      Case 2:20-cr-00634-DWL Document 3-1 Filed 07/24/20 Page 1 of 1




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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               DISTRICT OF ARIZONA
 8
 9   United States of America,                         No. 2:20-mj-08217-JZB
10                    Plaintiff,
11
                                                               ORDER
           vs.
12   Ana Rodriguez,
13                    Defendant.
14
15         Pending before the Court is Defendant’s “Motion to Continue Preliminary
16   Hearing, Detention Hearing and Continuation of Initial Appearance on July 27,
17   2020.” (Doc. ____.)
18         There being no objection, and after review, the Court will grant the Motion.
19         Accordingly,
20         IT IS ORDERED:
21             1.  The Motion (Doc. ___) is granted.
22               2.      The July 27, 2020 Preliminary Hearing, Detention Hearing and
23      Continuation of Initial Appearance is reset to _____________.
24         The Court finds excludable delay under Title 18 U.S.C. §3161(h)(7)(A) and
25   (B) from __________ to ____________.
26         DATED this _____ day of _____, 2020.
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